Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 1 of 19 PageID #: 2381




                            EXHIBIT 5
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 2 of 19 PageID #: 2382




                                       In the Matter Of:

                  INDIANA STATE CONFERENCE OF NAACP, ET AL.

                                               -v-

                                 CONNIE LAWSON, ET AL.
                       ____________________________________________________


                                 Chad Clingerman, 30(b)(6)

                                         June 18, 2019
                       _____________________________________________________
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 3 of 19 PageID #: 2383




 ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · · · ·SOUTHERN DISTRICT OF INDIANA

 ·3
 · ·   ·INDIANA STATE CONFERENCE OF· )
 ·4·   ·THE NATIONAL ASSOCIATION FOR )
 · ·   ·THE ADVANCEMENT OF COLORED· ·)
 ·5·   ·PEOPLE (NAACP) and LEAGUE OF )
 · ·   ·WOMEN VOTERS OF INDIANA,· · ·)
 ·6·   · · · · · · · · · · · · · · · )
 · ·   · · · · · ·Plaintiffs,· · · · )
 ·7·   · · · · · · · · · · · · · · · )
 · ·   · · · -v-· · · · · · · · · · ·) Case Number 1:17-cv-02897
 ·8·   · · · · · · · · · · · · · · · )
 · ·   ·CONNIE LAWSON, in her· · · · )
 ·9·   ·official capacity as the· · ·)
 · ·   ·Indiana Secretary of State,· )
 10·   ·et al.,· · · · · · · · · · · )
 · ·   · · · · · · · · · · · · · · · )
 11·   · · · · · ·Defendants.· · · · )

 12

 13· · · · · · ·The Rule 30(b)(6) deposition of ELKHART COUNTY

 14· ·CLERK'S OFFICE upon oral examination of CHAD CLINGERMAN, a

 15· ·witness produced and sworn before me, Susan J. Snyder,

 16· ·Notary Public in and for the County of Kosciusko, State of

 17· ·Indiana, taken on behalf of the Plaintiffs at the offices of

 18· ·Yoder Ainlay Ulmer & Buckingham, LLP, 130 North Main Street,

 19· ·Goshen, Indiana on Tuesday, June 18, 2019 at 9:33 a.m.,

 20· ·pursuant to the applicable rules.

 21

 22

 23·   ·   ·   ·   ·   ·   STEWART RICHARDSON DEPOSITION SERVICES
 · ·   ·   ·   ·   ·   ·   · ·Registered Professional Reporters
 24·   ·   ·   ·   ·   ·   · ·1251 North Eddy Street, Suite 200
 · ·   ·   ·   ·   ·   ·   · · · ·South Bend, Indiana 46802
 25·   ·   ·   ·   ·   ·   · · · · · · (574) 300-3885
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 4 of 19 PageID #: 2384
                                           30(b)(6)                             Page 2


 ·1· · · · · · · · · · · · ·APPEARANCES

 ·2

 ·3· ·FOR THE PLAINTIFFS:

 ·4·   ·   ·   ·   Ms. Eliza Sweren-Becker
 · ·   ·   ·   ·   Counsel, Democracy Program
 ·5·   ·   ·   ·   BRENNAN CENTER FOR JUSTICE AT NYU LAW
 · ·   ·   ·   ·   120 Broadway, Suite 1750
 ·6·   ·   ·   ·   New York, New York· 10271
 · ·   ·   ·   ·   (646) 925-8765
 ·7·   ·   ·   ·   eliza.sweren-becker@nyu.edu

 ·8·   ·   ·   ·   Mr. Alexandre J. Tschumi
 · ·   ·   ·   ·   QUINN EMANUEL
 ·9·   ·   ·   ·   51 Madison Avenue, 22nd Floor
 · ·   ·   ·   ·   New York, New York· 10010
 10·   ·   ·   ·   (212) 849-7507
 · ·   ·   ·   ·   alexandretschumi@quinnemanuel.com
 11

 12· ·FOR THE DEFENDANTS:

 13·   ·   ·   ·   Aleksandrina Penkova Pratt
 · ·   ·   ·   ·   Deputy Attorney General
 14·   ·   ·   ·   STATE OF INDIANA OFFICE OF THE ATTORNEY GENERAL
 · ·   ·   ·   ·   302 West Washington Street, IGCS 5th Floor
 15·   ·   ·   ·   Indianapolis, Indiana· 46204
 · ·   ·   ·   ·   (317) 232-4849
 16·   ·   ·   ·   aleksandrina.pratt@atg.in.gov

 17
 · ·   ·FOR THE DEPONENT:
 18
 · ·   ·   ·   ·   Mr. Nathaniel M. Jordan
 19·   ·   ·   ·   Ms. Kathy Taft
 · ·   ·   ·   ·   YODER AINLAY ULMER & BUCKINGHAM, LLP
 20·   ·   ·   ·   130 North Main Street
 · ·   ·   ·   ·   Goshen, Indiana· 46526
 21·   ·   ·   ·   (574) 533-1171
 · ·   ·   ·   ·   njordan@yaub.com
 22·   ·   ·   ·   ktaft@yaub.com

 23

 24

 25
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 5 of 19 PageID #: 2385
                                           30(b)(6)                             Page 3


 ·1· · · · · · · · · · ·INDEX OF EXAMINATION
 ·2· · · · · · · · · · · · · · · · · · · · · · · · · · · · PAGE
 ·3· ·DIRECT EXAMINATION· · · · · · · · · · · · · · · · · · · 5
 ·4· · · · By Ms. Sweren-Becker
 ·5· ·DIRECT EXAMINATION· · · · · · · · · · · · · · · · · · ·96
 ·6· · · · By Mr. Tschumi
 ·7· ·CROSS-EXAMINATION· · · · · · · · · · · · · · · · · · ·131
 ·8· · · · By Ms. Pratt
 ·9· ·REDIRECT EXAMINATION· · · · · · · · · · · · · · · · · 133
 10· · · · By Mr. Tschumi
 11
 12· · · · · · · · ·INDEX OF PLAINTIFFS' EXHIBITS
 13· · · · · · · · · · · · · · · · · · · · · · · · · · · · PAGE
 14· ·Exhibit 1· · · Notice of Deposition· · · · · · · · · · ·6
 15· ·Exhibit 2· · · Elkhart County mailing, NVRA,· · · · · · 9
 16· · · · · · · · · IC 3-7-38.2-5
 17· ·Exhibit 3· · · email string 7/14/16· · · · · · · · · · 29
 18· · · · · · · · · re:· Interstate Crosscheck
 19· ·Exhibit 4· · · email string 1/11/16· · · · · · · · · · 33
 20· · · · · · · · · re:· Interstate Crosscheck
 21· ·Exhibit 5· · · email string 12/19/17· · · · · · · · · ·40
 22· · · · · · · · · re:· Legislative update
 23· ·Exhibit 6· · · email string 1/11/16· · · · · · · · · · 47
 24· · · · · · · · · re:· Interstate crosscheck
 25
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 6 of 19 PageID #: 2386
                                           30(b)(6)                             Page 4


  ·1· · · · · · · · ·INDEX OF PLAINTIFFS' EXHIBITS
  ·2· · · · · · · · · · · · · (continued)
  ·3· · · · · · · · · · · · · · · · · · · · · · · · · · · · PAGE
  ·4· ·Exhibit 7· · · email string 7/14/16· · · · · · · · · · 50
  ·5· · · · · · · · · re:· Interstate Crosscheck hopper
 ·6· ·Exhibit 8· · · Senate Enrolled Act 442· · · · · · · · ·64
  ·7· ·Exhibit 9· · · Indiana SRVS Multi-State Voter List· · ·70
  ·8· · · · · · · · · Maintenance Step-by-Step
  ·9· ·Exhibit 10· · ·emails from Bingham County, Idaho· · · ·75
  10· ·Exhibit 11· · ·PowerPoint presentation· · · · · · · · ·86
  11· · · · · · · · · Voter List Maintenance
  12· ·Exhibit 12· · ·email from Tammy Dooley· · · · · · · · ·91
  13· · · · · · · · · re:· 2016 IVRA Conference Follow-up
  14· ·Exhibit 13· · ·Election Division spreadsheet· · · · · ·99
  15· ·Exhibit 14· · ·Baker Tilly email 1/18/17· · · · · · · 106
  16· · · · · · · · · 2017 Date of Registration Definition
  17· ·Exhibit 15· · ·2016 Election Day Handbook· · · · · · ·115
  18· ·Exhibit 16· · ·Form VRG 4/12 Request to Update· · · · 120
 19· · · · · · · · · Voter Registration
 20
 21
 22
 23
 24
 25


                                                                                         YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 7 of 19 PageID #: 2387
                                           30(b)(6)                             Page 5


  ·1· · · · · · · · · · · ·CHAD CLINGERMAN,
  ·2· · · ·called as a witness by the Plaintiffs, having been
  ·3· · · ·first duly sworn or affirmed, was examined and
  ·4· · · ·testified as follows:
  ·5· · · · · · · · · · · DIRECT EXAMINATION
  ·6· ·BY MS. SWEREN-BECKER:
  ·7· ·Q.· Thank you for joining us, Mr. Clingerman.· My name
  ·8· · · ·is Eliza Sweren-Becker.· I represent the Indiana
  ·9· · · ·State Conference of the NAACP and the League of
  10· · · ·Women Voters of Indiana; this is my colleague, Alex
  11· · · ·Tschumi, who also represents the same plaintiffs.
  12· · · ·Could you state your name for the record.
  13· ·A.· Chad, C-h-a-d, Clingerman, C-l-i-n-g-e-r-m-a-n.
  14· ·Q.· And have you ever been deposed before?
  15· ·A.· No.
  16· ·Q.· Okay.· So we'll walk through some of the rules of
  17· · · ·the road for depositions.
  18· ·A.· Okay.
  19· ·Q.· Your statements here are under oath, and any
  20· · · ·statement made here can be used in court as a sworn
  21· · · ·statement.· In other words, your statements here
  22· · · ·have the same effect as if you were testifying in
  23· · · ·court before a judge.· If you need to take a break
  24· · · ·at any point, please feel free to let us know and we
  25· · · ·can accommodate that.· Our only request is that if


                                                                                         YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 8 of 19 PageID #: 2388
                                           30(b)(6)                            Page 50


  ·1· · · ·list maintenance?
  ·2· ·A.· Yes.
  ·3· · · · · · · · · · (Plaintiffs' Exhibit 7 marked.)
  ·4· ·Q.· I'm going to pass you what will be marked as
  ·5· · · ·Exhibit 7.· Is this an email from Angie Troyer to
  ·6· · · ·you?
  ·7· ·A.· Yes, it is.
  ·8· ·Q.· Who is Angie Troyer?
  ·9· ·A.· She was my previous voter registration outreach
  10· · · ·coordinator.
  11· ·Q.· So she had the job that Kelsy now has?
  12· ·A.· Yes.
  13· ·Q.· Okay.· And in this email to you, Angie writes
  14· · · ·"Honestly, I don't trust the State."· Is that
  15· · · ·correct?
  16· ·A.· Yes, she writes that.
  17· ·Q.· Had Angie ever told you that she doesn't trust the
  18· · · ·Election Division, the co-directors or the Secretary
  19· · · ·of State?
  20· · · · · · · · · · MS. PRATT:· Objection, hearsay.
  21· ·A.· Yes.
  22· ·Q.· Do you recall discussing this with her outside the
  23· · · ·context of this email?
  24· ·A.· Yes, I did.
  25· ·Q.· Can you tell me about those conversations?


                                                                                       YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 9 of 19 PageID #: 2389
                                           30(b)(6)                            Page 51


  ·1· ·A.· This was us having a plan --
  ·2· · · · · · · · · · MS. PRATT:· Same objection.
  ·3· ·A.· -- in 2016 to try to increase our absentee turnout.
  ·4· · · ·We want to send a absentee application to all those
  ·5· · · ·who had done so in previous elections, to try to
  ·6· · · ·increase that turnout.· We were trying to figure out
  ·7· · · ·a way to do that that would be cost-efficient.
  ·8· ·Q.· And what is your understanding of Ms. Troyer did not
  ·9· · · ·trust the State?
  10· ·A.· Because we were probably working out cross purposes
  11· · · ·of what we want to do for ourselves compared to what
  12· · · ·the State was doing for everybody.
  13· ·Q.· What were those cross purposes?· For example, what
  14· · · ·were your purposes and what was your understanding
  15· · · ·of the State's purposes?
  16· ·A.· So when they first did this Interstate Crosscheck
  17· · · ·hopper back in '16, I also knew that a large
  18· · · ·statewide voter list mailing was coming at the same
  19· · · ·time.· I felt that this was redundant, that -- why
  20· · · ·would I want to send these notices through the
  21· · · ·hopper if these same kind of notices are going to
  22· · · ·come through the statewide voter list mailing
  23· · · ·project?· I didn't feel it a good use of our County
  24· · · ·money to waste that postage for something that's
  25· · · ·going to happen again and not increase -- not change


                                                                                       YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 10 of 19 PageID #:
                                   2390
                                         30(b)(6)                            Page 52


·1· · · ·the timeline when someone who has been inactivated
·2· · · ·through this process might then have their
·3· · · ·registration canceled through the entire process.
·4· ·Q.· Okay.· We'll circle back around to that in
·5· · · ·particular, but are there things that you don't
·6· · · ·trust the State to accomplish?
·7· ·A.· I feel that sometimes they don't -- the State,
·8· · · ·including the General Assembly, doesn't understand
·9· · · ·how on-the-ground election stuff works.· Sometimes
10· · · ·they forget that.· So sometimes they can do things
11· · · ·that feel at cross purpose of what we're trying to
12· · · ·do.
13· ·Q.· Are there examples of when that has occurred?
14· ·A.· Sometimes in -- as you saw before, Wendy Hudson, my
15· · · ·former clerk, was on the ledge committee trying to
16· · · ·get legislation that would be fairly useful for
17· · · ·on-the-ground administration, that legislators don't
18· · · ·understand why we're going to do this so it doesn't
19· · · ·happen.· Feel like it makes our job more difficult
20· · · ·to do.
21· ·Q.· Are there procedures or legislation that have come
22· · · ·down either from the State or from the Legislature
23· · · ·that have made your jobs harder to do?
24· ·A.· Yeah.· We are what's called a vote center county,
25· · · ·which means our voters can vote at any location.


                                                                                   YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 11 of 19 PageID #:
                                   2391
                                         30(b)(6)                            Page 53


·1· · · ·Previous to this primary, we used all -- what is
·2· · · ·called "DRE equipment," Direct Record Electronic --
·3· · · ·I've probably got the acronym wrong.· But it's known
·4· · · ·as DRE equipment, which basically all the
·5· · · ·tabulation's done on electronic touch screen.· We
·6· · · ·felt that those -- that piece of equipment could
·7· · · ·handle what are called provisional ballots by
·8· · · ·themselves, however, we were -- no, those cannot be
·9· · · ·used for original ballots, you have to have paper
10· · · ·copies that -- paper copies for provisional ballots,
11· · · ·which cause us to spend a bunch of money every
12· · · ·election to print a bunch of these paper copies to
13· · · ·have at every vote center.
14· ·Q.· Going back to basics for a minute.· Can you describe
15· · · ·your understanding of what voter list maintenance
16· · · ·entails?
17· ·A.· Yes.· It is a process to help remove people from
18· · · ·your voter rolls who no longer live in your
19· · · ·jurisdiction, either county or state or whatever.
20· · · ·People tend to be bad about notifying old counties
21· · · ·when they've moved, so this process will help us get
22· · · ·those folks off our rolls who no longer live here.
23· ·Q.· And in your office, who performs voter list
24· · · ·maintenance?
25· ·A.· If it's directly for the postcards, I do.· If it's


                                                                                   YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 12 of 19 PageID #:
                                   2392
                                         30(b)(6)                            Page 54


·1· · · ·other list maintenance such as death or
·2· · · ·incarceration, Jackie Wolf and Jamie Hall generally
·3· · · ·handle that.
·4· ·Q.· When you undertake voter list maintenance activities
·5· · · ·or updates, do you record those somewhere or does
·6· · · ·the system record them?
·7· ·A.· I believe the system records them.
·8· · · · · · · · · · MS. SWEREN-BECKER:· Would it be helpful
·9· · · · · · · ·to take a break now?
10· · · · · · · · · · THE WITNESS:· Yes, it would.
11· · · · · · · · · · MS. SWEREN-BECKER:· Let's go off the
12· · · · · · · ·record.
13· · · · · · · · · · (Recess taken.)
14· ·BY MS. SWEREN-BECKER:
15· ·Q.· We were talking a moment ago about voter list
16· · · ·maintenance, and I wanted to transition to the
17· · · ·statewide mailer process; are you familiar with
18· · · ·that?
19· ·A.· I am familiar with the parts that I see.
20· ·Q.· Based on your understanding, how does the statewide
21· · · ·mailer process work?
22· ·A.· Every two years, the State contracts with a company;
23· · · ·they send out a postcard to the mailing address of
24· · · ·every registered voter in the state.· If that
25· · · ·postcard comes back to them, they send out a second


                                                                                   YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 13 of 19 PageID #:
                                   2393
                                         30(b)(6)                            Page 55


·1· · · ·postcard to that same mailing address that has the
·2· · · ·inquired questions.· When those come back, they
·3· · · ·get -- the image of that postcard gets scanned into
·4· · · ·either SVRS, this year I think, or it used to be a
·5· · · ·separate program.· That information is also put in
·6· · · ·the statewide system in various hoppers.
·7· ·Q.· And if a person doesn't respond to one of those
·8· · · ·postcards, what happens?
·9· ·A.· If they don't respond to the first postcard, nothing
10· · · ·happens.· If they don't respond to the second
11· · · ·postcard, after 30 days, it would then make that
12· · · ·person's registration called "inactive."
13· ·Q.· And if that person who hasn't responded to two
14· · · ·postcards then fails to vote in two election cycles,
15· · · ·what happens?
16· ·A.· If they fail to vote in two federal general
17· · · ·elections, then they can be removed from the rolls.
18· ·Q.· And do you find this general practice to be an
19· · · ·efficient way to conduct voter list maintenance?
20· ·A.· Yes.
21· ·Q.· You mentioned this earlier, but by contrast do you
22· · · ·find the Crosscheck hopper useful in conducting
23· · · ·voter list maintenance?
24· ·A.· No.
25· ·Q.· Why is that?


                                                                                   YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 14 of 19 PageID #:
                                   2394
                                         30(b)(6)                            Page 56


·1· ·A.· Because as we said before, it was the same purpose
·2· · · ·that was going to happen later anyway.· We had the
·3· · · ·same -- using this postcard method.· I would have
·4· · · ·sent out the same mailer to them with the three
·5· · · ·questions on it.· If these folks are truly not in
·6· · · ·our state anymore, they would have been caught up in
·7· · · ·the larger statewide postcard mailings.· I felt that
·8· · · ·I would be wasting my postage doing this for my
·9· · · ·county when this is going to happen later that year
10· · · ·anyway.
11· ·Q.· So was the Crosscheck hopper necessary to conduct
12· · · ·voter list maintenance?
13· ·A.· For myself, no.
14· ·Q.· And was it an efficient use of your time and
15· · · ·resources?
16· ·A.· For myself and my office, no.
17· ·Q.· We've talked a couple of times about hoppers.· What
18· · · ·are hoppers?
19· ·A.· They are, I guess, subsections of the statewide --
20· · · ·sorry -- the SVRS.· There are several.· The ones we
21· · · ·use on a daily basis are what's called the BMV
22· · · ·hopper, which is registrations we get from the BMV;
23· · · ·the Online hopper, registrations we get online; the
24· · · ·DOH hopper, which is records from the State
25· · · ·Department of Health we get concerning people who


                                                                                   YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 15 of 19 PageID #:
                                   2395
                                         30(b)(6)                            Page 57


·1· · · ·may have passed away; the DOC hopper, records we get
·2· · · ·from the State Department of Corrections concerning
·3· · · ·people who may have been incarcerated.· Some of the
·4· · · ·hoppers that just let us mass print things or email
·5· · · ·section.· Under the one that has -- if you've
·6· · · ·generated a report, it might be in this hopper.
·7· · · ·There are several subhoppers.· But most of the ones
·8· · · ·we'll use I said first, the BMV ones and the DOC,
·9· · · ·DOH ones.
10· ·Q.· And how do you use the hoppers?
11· ·A.· There's a hyperlink on the home page of SVRS.· Go to
12· · · ·that hyperlink, you'll get a list of names, and
13· · · ·depending on which hopper it is, a search function
14· · · ·that may work one of different ways.· The lists
15· · · ·themselves are sortable by certain columns.· The
16· · · ·general practice that we usually use is we have a
17· · · ·lot of records in these hoppers, so we'll search
18· · · ·by -- use the search function to find a particular
19· · · ·record, and then there's another hyperlink for the
20· · · ·last name, and that hyperlink will do whatever we
21· · · ·need to do with that record.
22· ·Q.· In addition to you, who in your office has access to
23· · · ·the hoppers?
24· ·A.· To the BMV, Online, DOH, and DOC, all four of my
25· · · ·staff members have access.· To the voter list


                                                                                   YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 16 of 19 PageID #:
                                   2396
                                         30(b)(6)                            Page 77


·1· · · ·out-of-state registration, does that give you more
·2· · · ·confidence in a match?
·3· ·A.· It would, yes.
·4· ·Q.· Because you would be able to compare their
·5· · · ·signature, for example?
·6· ·A.· Yes.
·7· ·Q.· Do you recall ever receiving inquiries like this one
·8· · · ·from somebody out of state, but in fact there was no
·9· · · ·match?
10· ·A.· It's possible.· I don't have them specifically
11· · · ·written down.
12· ·Q.· Sure.· Turning back toward Senate Enrolled Act 442,
13· · · ·we were on page 10 and we were just talking about
14· · · ·the first requirement which is that the county makes
15· · · ·sure that it's the same individual.· If we turn to
16· · · ·subpart (d)(2), the law asks the county to
17· · · ·"determine whether the individual is registered to
18· · · ·vote in another state on a date following the date
19· · · ·that the voter registered in Indiana."· Is that
20· · · ·correct?
21· ·A.· Correct.
22· ·Q.· And Senate Enrolled Act 442 did not change that
23· · · ·requirement; is that correct?
24· ·A.· Correct.
25· ·Q.· How would you determine, before the enactment of


                                                                                   YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 17 of 19 PageID #:
                                   2397
                                         30(b)(6)                            Page 78


·1· · · ·Senate Enrolled Act 442, whether a person was
·2· · · ·registered out of state at a date following their
·3· · · ·registration in Indiana?
·4· ·A.· Specifically through the Crosscheck hopper or in
·5· · · ·general?
·6· ·Q.· When a match appeared in the Crosscheck hopper, how
·7· · · ·would you determine whether the out-of-state
·8· · · ·registration post-dated the Indiana registration?
·9· ·A.· We wouldn't be able to, because that information was
10· · · ·not in the hopper.
11· ·Q.· Okay.· So is it correct that the hopper does not
12· · · ·provide you with the registration dates belonging to
13· · · ·the particular records?
14· ·A.· Correct.
15· ·Q.· So would there be any basis for making a
16· · · ·determination that the Indiana record predates the
17· · · ·non-Indiana registration?
18· ·A.· From within the hopper, no.
19· ·Q.· Would you ever seek information from outside the
20· · · ·hopper?· For example, calling up that county in
21· · · ·Tennessee?
22· ·A.· Probably not, because that would not be a good use
23· · · ·of our time to do so.
24· ·Q.· I understand you didn't use the Crosscheck hopper
25· · · ·much, but what would you do to determine this


                                                                                   YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 18 of 19 PageID #:
                                   2398
                                         30(b)(6)                            Page 79


·1· · · ·question of the date of registration, if anything?
·2· · · · · · · · · · MS. PRATT:· Objection, speculative.
·3· ·Q.· What did you do on the few occasions where you
·4· · · ·reviewed hopper matches, Crosscheck hopper matches?
·5· ·A.· I didn't because I possibly believed, either rightly
·6· · · ·or falsely, that when these records are put in the
·7· · · ·Crosscheck hopper, that kind of thing had been taken
·8· · · ·care of pre it going to this hopper.
·9· ·Q.· So your understanding is that either Crosscheck or
10· · · ·the Indiana Election Division had previously
11· · · ·determined that the out-of-state registration
12· · · ·post-dated the Indiana registration?
13· ·A.· I believe that was on my mind when I looked at these
14· · · ·records.
15· ·Q.· Okay.· Just to confirm again, under the new law, SEA
16· · · ·442 doesn't require you to do anything different
17· · · ·with respect to, one, determining whether the
18· · · ·individual is the same; or two, determining whether
19· · · ·the out-of-state registration post-dates the Indiana
20· · · ·registration; is that correct?
21· ·A.· Correct.
22· ·Q.· And turning to the third prong which is crossed
23· · · ·through in the draft we're looking at here.
24· · · ·Previously, the county was asked to "determine
25· · · ·whether the individual authorized the cancellation


                                                                                   YVer1f
Case 1:17-cv-02897-TWP-MPB Document 137-6 Filed 07/01/20 Page 19 of 19 PageID #:
                                   2399
                                         30(b)(6)                           Page 110


·1· · · ·lead to a match rejection.
·2· ·Q.· But certainly there would be -- strike that.
·3· · · · · ·But you've offered a very specific example.· You
·4· · · ·can't make that same statement generally, correct?
·5· ·A.· Without knowing how this all went together in the
·6· · · ·system, I'm kind of speculating.· So I don't want to
·7· · · ·speculate further than that.
·8· ·Q.· Okay.· And as we discussed earlier, in the first
·9· · · ·instance you aren't even provided the registration
10· · · ·dates in the Crosscheck hopper, correct?
11· ·A.· Correct.
12· ·Q.· Has the Election Division or Secretary of State's
13· · · ·Office ever disclosed to you that states submitting
14· · · ·data to Crosscheck do not have the same
15· · · ·understanding of what "date of registration" means?
16· ·A.· I don't believe they ever have, no.
17· ·Q.· And does that create any uncertainty for you
18· · · ·personally about the matches that are appearing in
19· · · ·the Crosscheck hopper?
20· ·A.· Now that I know about it, it would.
21· ·Q.· And returning back to your statement that it might
22· · · ·be sufficient if voter registration dates that were
23· · · ·supplied to you from another state were far enough
24· · · ·apart from the one in SVRS -- am I capturing what
25· · · ·you were suggesting?


                                                                                       YVer1f
